                                                                                                                                             Case 2:23-cv-01477-DAD-KJN Document 25 Filed 11/28/23 Page 1 of 5



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                                                                                                                                      10                                                Attorneys for Defendants
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                                                                                                                                      12                             UNITED STATES DISTRICT COURT FOR THE
                                                                                                                                      13                               EASTERN DISTRICT OF CALIFORNIA
                                                                                                                                      14
                                                                                                                                           SUZANNE KISTING-LEUNG, individually and        Case No. 2:23-cv-01477-DAD-KJN
                                                                                                                                      15
                                                                                                                                           on behalf of all other similarly situated,
                                                                                                                                      16
                                                                                                                                                                Plaintiff,                JOINT STIPULATION FOR
                                                                                                                                      17                                                  PLAINTIFF TO FILE SECOND
                                                                                                                                                vs.                                       AMENDED CLASS ACTION
                                                                                                                                      18                                                  COMPLAINT PURSUANT TO FRCP
                                                                                                                                         CIGNA CORPORATION, CIGNA HEALTH                  15(a)(2); [PROPOSED] ORDER
                                                                                                                                      19
                                                                                                                                         AND LIFE INSURANCE COMPANY, and
                                                                                                                                      20 DOES 1 through 50, inclusive,

                                                                                                                                      21                 Defendants.
                                                                                                                                                                                          Complaint Filed:   July 24, 2023
                                                                                                                                      22                                                  Judge:             Hon. Dale A. Drozd
                                                                                                                                                                                          Trial Date:        Not Set
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                                                                                                                                           JOINT STIPULATION FOR PLAINTIFF TO FILE SECOND AMENDED COMPLAINT CLASS
                                                                                                                                           ACTION COMPLAINT PURSUANT TO FRCP 15(a)(2)
                                                                                                                                           CASE NO. 2:23-CV-01477-DAD-KJN
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                                                                                                                                       1          Plaintiff Suzanne Kisting-Leung and Defendants Cigna Corporation and Cigna Health and

                                                                                                                                       2 Insurance Company submit the following joint stipulation and request that the Court grant Plaintiff

                                                                                                                                       3 leave to file a Second Amended Class Action Complaint (“SAC”) pursuant to Rule 15(a)(2) of the

                                                                                                                                       4 Federal Rules of Civil Procedure:

                                                                                                                                       5          WHEREAS, Plaintiff filed her Class Action Complaint (“Original Complaint”) in this

                                                                                                                                       6 action on July 24, 2023;

                                                                                                                                       7          WHEREAS, Defendants filed an unopposed motion for administrative relief for extension
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                                                                                                                                       8 of time to answer, move, or otherwise respond to the Original Complaint on August 7, 2023;
                                                                                                                                       9          WHEREAS, the Court granted Defendants’ unopposed motion for administrative relief for
                                                                                                                                      10 extension of time to answer, move, or otherwise respond to the Original Complaint and set the

                                                                                                                                      11 deadline for Defendants to file a response to the Original Complaint by September 29, 2023;

                                                                                                                                      12          WHEREAS, on September 14, 2023, the parties filed the joint stipulation for leave for
                                                                                                                                      13 Plaintiff to file the First Amended Class Action Complaint (“FAC”) by October 16, 2023;

                                                                                                                                      14          WHEREAS, the Court granted the joint stipulation to allow Plaintiff to file the FAC by
                                                                                                                                      15 October 16, 2023;

                                                                                                                                      16          WHEREAS, Plaintiff filed her FAC on October 16, 2023;
                                                                                                                                      17          WHEREAS, on Wednesday, November 22, 2023, the parties met and conferred regarding
                                                                                                                                      18 the arguments Cigna intended to raise in its anticipated motion to dismiss the FAC, in accordance

                                                                                                                                      19 with this Court’s Standing Order in Civil Cases, Order I.C, including Cigna’s arguments as to

                                                                                                                                      20 whether Plaintiff has Article III standing;

                                                                                                                                      21          WHEREAS, counsel for Plaintiff advised that they intend to file a SAC that would add one

                                                                                                                                      22 new class representative and also provide additional details pertaining to her claims and to the class

                                                                                                                                      23 allegations, and counsel for Cigna advised that Cigna does not object to Plaintiff seeking leave to

                                                                                                                                      24 file the SAC;

                                                                                                                                      25          WHEREAS, the parties agreed that Plaintiff shall have until December 18, 2023, to file the

                                                                                                                                      26 SAC; and

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                                                                                                                                           JOINT STIPULATION FOR PLAINTIFF TO FILE SECOND AMENDED COMPLAINT
                                                                                                                                           CLASS ACTION COMPLAINT PURSUANT TO FRCP 15(a)(2)
                                                                                                                                           CASE NO. 2:23-CV-01477-DAD-KJN
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                                                                                                                                       1          WHEREAS, the parties agreed that Defendants shall have until February 1, 2024, to answer,

                                                                                                                                       2 move, or otherwise respond to the SAC.

                                                                                                                                       3          NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED between the

                                                                                                                                       4 parties hereto, through their respective attorneys of record, that:

                                                                                                                                       5          1.     Plaintiff may, pursuant to Rule 15(a)(2) of the Federal Rules of Civil Procedure, file

                                                                                                                                       6                 an amended complaint in the form of the SAC on or before December 18, 2023;

                                                                                                                                       7          2.     Defendants shall have until February 1, 2024, to answer, move, or otherwise respond
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                                                                                                                                       8                 to the SAC.
                                                                                                                                       9          Respectfully submitted,
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                                                                                                                                       1 DATED: November 28, 2023            CLARKSON LAW FIRM, P.C.

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                                                                                                                                       3                                         By: /s/ Glenn A. Danas
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                                                                                                                                           DATED: November 28, 2023          McDERMOTT WILL & EMERY LLP
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                                                                                                                                                                                 By: /s/ Dmitriy Tishyevich
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                                                                                                                                      23                                              Attorneys for Defendants

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                                                                                                                                           JOINT STIPULATION FOR PLAINTIFF TO FILE SECOND AMENDED COMPLAINT
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                                                                                                                                           CASE NO. 2:23-CV-01477-DAD-KJN
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                                                                                                                                       1                                     [PROPOSED] ORDER

                                                                                                                                       2         The Court, having reviewed the parties’ Joint Stipulation for Plaintiff to file the Second

                                                                                                                                       3 Amended Class Action Complaint pursuant to Rule 15(a)(2) of the Federal Rules of Civil

                                                                                                                                       4 Procedure, and for good cause appearing, IT IS HEREBY ORDERED that Plaintiff is granted

                                                                                                                                       5 leave to file the Second Amended Complaint on or before December 18, 2023.

                                                                                                                                       6         IT IS FURTHER SO ORDERED that Defendants shall have until February 1, 2024, to

                                                                                                                                       7 answer, move, or otherwise respond to the SAC.
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                                                                                                                                       8         IT IS SO ORDERED
                                                                                                                                       9

                                                                                                                                      10 DATED:___________________, 2023
                                                                                                                                                                                               Honorable Dale A. Drozd
                                                                                                                                      11                                                       United States District Judge
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                                                                                                                                           JOINT STIPULATION FOR PLAINTIFF TO FILE SECOND AMENDED COMPLAINT
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                                                                                                                                           CASE NO. 2:23-CV-01477-DAD-KJN
